Case 1:19-md-02915-AJT-JFA Document 528 Filed 06/02/20 Page 1 of 2 PageID# 6558




                                                                            Security Breach Litigation




                                                   s/Lindsay Todd Perkins
Case 1:19-md-02915-AJT-JFA Document 528 Filed 06/02/20 Page 2 of 2 PageID# 6559



 Courts Admitted to:            Date Admitted

 Western District of Missouri   9-20-2007
 District of Kansas             11-18-2010
 8th Circuit Court of Appeals   7-13-2010
 9th Circuit Court of Appeals   12-11-2019
 4th Circuit Court of Appeals   2-26-2020
